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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


 ASHLEY WALTHOUR, et al,
                     Plaintiffs,                    CIVIL ACTION FILE
 vs.                                                NO. 1:12-cv-1491-AT
 CHIPIO WINDSHIELD REPAIR, LLC, et
 al,
                     Defendants.



                                   JUDGMENT

       This action having come before the court, Honorable Amy Totenberg, United States

District Judge, for consideration of Defendant‘s to Dismiss, and the court having granted

said motion, it is

       Ordered and Adjudged that the action be, and the same hereby, is dismissed.

       Dated at Atlanta, Georgia, this 27th day of February, 2013.



                                                       JAMES N. HATTEN
                                                       CLERK OF COURT


                                                 By:   s/ Harry F. Martin
                                                       Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
  February 27, 2013
James N. Hatten
Clerk of Court

By: s/ Harry F. Martin
       Deputy Clerk
